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1    Robert F. McCauley (SBN 162056)                Heidi L. Keefe (SBN 178960)
     robert.mccauley@finnegan.com                   hkeefe@cooley.com
2    Arpita Bhattacharyya (SBN 316454)              Reuben H. Chen (SNB 228725)
     arpita.bhattacharyya@finnegan.com              rchen@cooley.com
3    Jeffrey D. Smyth (SBN 280665)                  Daniel J. Knauss (SBN 267414
     jeffrey.smyth@finnegan.com                     dknauss@cooley.com
4    FINNEGAN, HENDERSON, FARABOW,                  Lam K. Nguyen (SNB 265285)
      GARRETT & DUNNER, LLP                         lnguyen@cooley.com
5    3300 Hillview Avenue                           Deepa Kannappan (SBN 313573)
     Palo Alto, California 94304                    dkannappan@cooley.com
6    Telephone: (650) 849-6600                      COOLEY LLP
     Facsimile:     (650) 849-6666                  3175 Hanover Street
7                                                   Palo Alto, CA 94304-1130
     Attorneys for Plaintiff and Counterdefendant   Telephone: (650) 843-5000
8    ASETEK DANMARK A/S                             Facsimile:    (650) 849-7400

9                                                   Dustin M. Knight (pro hac vice)
                                                    dknight@cooley.com
10                                                  COOLEY LLP
                                                    11951 Freedom Drive, 16th Floor
11                                                  Reston, VA 20190
                                                    Telephone: (703) 456-8000
12                                                  Facsimile:   (703) 456-8100

13                                                  Kyle D. Chen (SBN 239501)
                                                    kchen@gtlaw.com
14                                                  GREENBERG TRAURIG, LLP
                                                    1900 University, Avenue, 5th Floor
15                                                  East Palo Alto, CA 94304
                                                    Telephone: (650) 289-7887
16                                                  Facsimile:     (650) 328-8508

17                                                  Attorneys for Defendant and Counterclaimant
                                                    COOLIT SYSTEMS, INC. and Defendants
18                                                  CORSAIR GAMING, INC. and CORSAIR
                                                    MEMORY, INC
19

20                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
21                                SAN FRANCISCO DIVISION

22   ASETEK DANMARK A/S,                             CASE NO. 3:19-cv-00410-EMC
                   Plaintiff and
23                 Counterdefendant,                 FURTHER JOINT CASE MANAGEMENT
                                                     STATEMENT AND [PROPOSED] ORDER
24                v.

25   COOLIT SYSTEMS, INC.,
                     Defendant and
26                   Counterclaimant

27   CORSAIR GAMING, INC. and CORSAIR
     MEMORY, INC,
28                  Defendants.

                                                                   FURTHER JOINT CASE MANAGEMENT STATEMENT
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1           Pursuant to the Court’s Order dated December 22, 2020 (Dkt. 207), consolidating the case at

2    bar with the related case Asetek Danmark A/S v. Corsair Gaming, Inc. et al. (20-cv-6541-EMC),

3    Plaintiff and Counterdefendant Asetek Danmark A/S (“Asetek”), Defendant and Counterclaimant

4    CoolIT Systems, Inc. (“CoolIT”), and Defendants Corsair Gaming Inc. and Corsair Memory, Inc.

5    (collectively, “Corsair”), jointly submit the following FURTHER JOINT CASE MANAGEMENT

6    STATEMENT, including a stipulated case management schedule for pre-trial and trial, and a

7    disputed matter related to limits on discovery on Corsair that the parties request the Court to resolve.

8           This Statement does not include the case management matters that were addressed in the

9    parties’ JOINT FURTHER CASE MANAGEMENT STATEMENT filed on December 15, 2020

10   (Dkt. 201).

11          1.      Scheduling

12          The proposed schedule below includes proposed claim construction negotiations and briefing

13   for construction of disputed terms in Asetek’s U.S. Patent Nos. 10,613,601 (“the ’601 patent”) and

14   10,599,196 (“the ’196 patent”), as well as the disputed claim terms “plurality of [juxtaposed] fins”

15   and/or “side[s] of the fins” in CoolIT’s U.S. Patent No. U.S. 8,746,330 (“the ’330 patent”). The parties’

16   positions on claim construction for the ’330 patent are stated below.

17          Asetek’s position: As a result of the Court’s granting of CoolIT’s motion to amend its

18   infringement contentions for its ’330 patent (Dkt. Nos. 184, 190), CoolIT has advanced new

19   interpretations of “plurality of [juxtaposed] fins” and/or “side[s] of the fins” in the asserted ’330

20   claims. The meaning of these claims terms was not disputed before CoolIT filed its motion to amend

21   its infringement contentions, and therefore the Court did not construe either of these terms in its prior

22   claim construction ruling, contrary to CoolIT’s representation below. See Dkt. 149 at 44-45 (providing

23   list of the claim terms construed by the Court); Dkt. 184 at 8 (Judge Beeler finding that “no one asked

24   to construe ‘plurality of the [juxtaposed] fins’ and ‘sides of the fins,’ again, because the issue was

25   ‘adjacent’/‘juxtaposed with.’”); see also Dkt. 184 at 10 (same). Moreover, Judge Beeler did not find

26   that claim construction of these terms would be unnecessary as CoolIT implies below. Rather, she

27   only found that granting CoolIT’s motion to amend would not prejudice Asetek because, even if new

28   construction of these terms were to be conducted, “the inquiry would be modest.” Dkt. 184 at 9-10.

                                                                             FURTHER JOINT CASE MANAGEMENT STATEMENT
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1             Asetek disputes CoolIT’s new interpretations of “plurality of [juxtaposed] fins” and “side[s]

2    of the fins,” which broadens the scope of the claims beyond CoolIT’s prior assertions in its original

3    infringement contentions, and specifically whether one skilled in the art after reviewing the intrinsic

4    evidence would have understood these claim terms in the way CoolIT now contends. As a result of

5    this dispute, the Court needs to engage in claim construction to determine the proper meaning and

6    scope of these claim terms, and preferably before expert discovery begins. Asetek disagrees with

7    CoolIT’s assertion that the terms do not require construction and/or should simply have their plain an

8    ordinary meaning, but that issue and the relevant intrinsic evidence needs to be briefed before the

9    Court can decide this dispute. The parties can include these terms from the ’330 patent as part of the

10   supplemental claim construction briefing for Asetek’s ’601 and ’196 patents per the schedule indicated

11   below.

12            CoolIT’s position: Asetek misstates CoolIT’s position. CoolIT is not advancing any new

13   claim interpretations and Asetek’s arguments to the contrary were already rejected by Judge Beeler.

14   (Dkt. No. 184.) Further, the Court overruled Asetek’s objections to Judge Beeler’s order where Asetek

15   again tried to advance the same arguments. It is Asetek who is advancing new interpretations for the

16   terms “a plurality of [juxtaposed] fins” and “side[s] of the fins” because Asetek is not satisfied with

17   the Court’s previous claim construction ruling and is not satisfied with Judge Beeler’s Order granting

18   CoolIT’s motion to amend its infringement contentions. As stated during the December 22, 2020 case

19   management conference, CoolIT does not believe that any additional construction is necessary for the

20   terms “a plurality of [juxtaposed] fins” and “side[s] of the fins” as they have a readily understood plain

21   and ordinary meaning to a person of ordinary skill in the art. (12/22/20 Hearing Transcript at pp. 7-

22   9.) However, if the Court believes further construction is warranted, the additional briefing can be

23   included in the proposed briefing schedule below.

24       Proposed Stipulated Schedule

25                                                                                          Proposed Dates
                Event
26
       Asetek to serve amended consolidated complaint against CoolIT and Corsair
27     based on previously served design drawings and sample of CoolIT’s “new
       design,” and with the understanding based on representations by CoolIT’s Jan 22, 2021
28     counsel that any further changes to the “new design” will likely not be material
       to Asetek’s claims.
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1    Asetek to (a) serve identification of asserted claims from the ‘362, ‘354, ‘355,
     ‘601, and ‘196 patents against accused CoolIT/Corsair products including
2    Capellix and CoolIT’s “new design” (subject to an overall limit of 16 claims
     with no more than 5 claims per patent and no new claims from the ’362, ’354,
3    and ’355 patents, i.e., claims for these patents must be from the previously        Feb 5, 2021
     selected 16 claims), (b) serve amended infringement contentions including the
4    Capellix products, CoolIT’s “new design,” and the ’601 and ’196 patents.
     (Asetek to include no new infringement theories against the Capellix product,
5    but new infringement theories/positions against the “new design” are
     permitted).
6
     CoolIT to provide updated design drawings reflecting any additional changes
7    to the new design. CoolIT will make every effort to also provide a 3-D model
     reflecting any additional changes. To the extent Asetek believes it needs to
8    amend its infringement contentions, parties will meet and confer to discuss a
     schedule for serving amended infringement contentions and any adjustments
9    to the schedule.
     Deadline to move to add parties or amend the pleadings                              Feb 12, 2021
10   CoolIT/Corsair to serve invalidity contentions for the ’196 and ’601 patents
     (CoolIT/Corsair to include no prior art against the ’196 and ’601 patents other
11                                                                                       Feb 19, 2021
     than the prior art references in CoolIT’s final election of prior art against
     Asetek’s ’362, ’354, and ’355 patents).
12
     Asetek’s position: Exchange of proposed terms for construction from
13   Asetek’s ’196 and ’601 patents and CoolIT’s ’330 patent.                 February 26,
14   CoolIT’s position: Exchange of proposed terms for construction from 2021
     Asetek’s ’196 and ’601 patents.
15   Exchange of preliminary claim constructions and extrinsic evidence       March 5, 2021
16   Joint Claim Construction and Prehearing Statement and Claim Construction March 19, 2021
     Expert Reports
17   Completion of Claim Construction Discovery                               March 31, 2021
     Opening Claim Construction Brief                                         April 8, 2021
18
     Responsive Claim Construction Brief                                      April 22, 2021
19   Reply Claim Construction Brief                                           April 29, 2021
20   Claim Construction Hearing                                               May 13, 2021
     Fact discovery cut-off                                                   July 29, 2021
21   Opening expert reports                                                   August 12, 2021
22                                                                            September 16,
     Rebuttal expert reports                                                  2021
23   Expert discovery cut-off                                                 October 7, 2021
24   Deadline to file dispositive motions                                     October 14, 2021
                                                                              November 18,
25   Last day to hear dispositive motions                                     2021
                                                                              December 21,
26   Meet and confer re pretrial conference statements                        2021
27   Joint pretrial conference statement/trial briefs                         January 11, 2022
     Objections due                                                           January 21, 2022
28
     Pretrial conference                                                      February 1, 2022
                                                                         FURTHER JOINT CASE MANAGEMENT STATEMENT
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1                                                                                            February 28,
       Trial                                                                                 2022
2
                                                                                             10-12 court days
       Estimate of trial length (in days)
3

4
               2.     Discovery Limits on Corsair
5
               CoolIT and Corsair’s position is that the customer suit exception should apply and the case
6
     should be stayed as to Corsair. Asetek disagrees. However, to avoid burdening the Court with
7
     additional motion practice, the parties have instead attempted to negotiate an agreement on limiting
8
     written discovery on Corsair as indicated below. However, a dispute remains regarding depositions
9
     of Corsair personnel, which the parties request the Court to resolve. The parties have also agreed to
10
     treat the separately named Corsair defendants collectively as one Corsair party, not separate parties,
11
     with respect to the stipulated limits, discovery responses, and witnesses.
12
               Stipulated limits on written discovery on Corsair
13
               The parties hereby stipulate that written discovery on Corsair will be limited to 10
14
     interrogatories, 10 requests for admission (not including requests for admission directed to
15
     authenticity and/or admissibility of documents), and 50 requests for production of documents or
16
     things.
17
               Dispute regarding deposition limits on Corsair
18
               Asetek’s position: Although Asetek believes that there is nothing barring Asetek from taking
19
     discovery from Corsair as a party to the consolidated actions as permitted under the Federal Rules, to
20
     resolve this disputed issue Asetek nevertheless agreed to limit the scope of discovery on Corsair to
21
     narrow the focus of the case and reduce costs of litigation for all parties. 1 As a result, Asetek agreed
22

23
               1
               Asetek continues to disagree with CoolIT’s assertion that the customer suit exception
24   should prevent Asetek from taking discovery from Corsair. Although this issue was previously
     briefed and argued, CoolIT insists on continuing to argue and cite cases below. Asetek respectfully
25   refers the Court to Asetek’s previously filed brief on the matter (Dkt 191) and, in response to
     CoolIT’s citation below to Magistrate Judge Beeler’s decision in Xiaohua Huang v. Open-Silicon,
26   Case no. 18-cv-00707, 2018 WL 5099275, at *5 (N.D. Cal. Aug. 27, 2018), Asetek notes that
     Xiaohua Huang is unusual in that it involved a pro se plaintiff, and that it is atypical to apply the
27   customer suit exception where the defendants are both present in the same action. For example,
     Judge Seeborg ruled that the customer suit exception was inapplicable because the manufacturer and
28   customer were defendants in the same case in Mycone Dental Supply Co. v. Creative Nail Design,
     Inc., No. C 12-00747 RS, 2012 WL 12899100, at *2 (N.D. Cal. May 30, 2012) (“Those cases all
                                                                           FURTHER JOINT CASE MANAGEMENT STATEMENT
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1    to the limits on written discovery specified above. Asetek is also amenable to reasonable limits on

2    deposing Corsair, but the limits on depositions asserted by Corsair are prejudicial and unreasonable.

3    For example, after Asetek reviews Corsair’s document production, Asetek should be entitled to take

4    at least one or two Rule 30(b)(1) depositions of Corsair witnesses, if needed, on topics such as

5    Corsair’s sales and financial documents, corporate structure, and business relationship with CoolIT,

6    etc., early in the case and prior to taking any Rule 30(b)(6) deposition(s). Asetek believes this is

7    necessary to ensure that its counsel have an early and accurate understanding of, among other things,

8    Corsair’s sales channels via the various Corsair corporate entities and also with third party resellers

9    (such as Amazon) to determine whether and to what extent third party and other follow up discovery

10   may be necessary to prove infringing sales. If third party discovery will be necessary, then Asetek’s

11   counsel will need to initiate third-party discovery early during fact discovery because third party

12   discovery via subpoenas can become protracted.

13          All of the above was explained during the meet and confer. CoolIT/Corsair incorrectly assert

14   below that Asetek said that it will take Rule 30(b)(6) depositions on subjects covered by its earlier

15   one or two Rule 30(b)1(1) witnesses. Not so. In fact, Asetek explained that it has no interest in

16   taking unnecessary deposition testimony, but that it cannot agree at this time to limit its ability to

17   take Rule 30(b)(6) discovery based on Corsair’s assertion that one of its Rule 30(b)(1) witnesses

18   touched on an issue. CoolIT/Corsair’s attempts to tie Asetek’s hands are unwarranted and would

19   prejudice Asetek’s right to take relevant and reasonably targeted discovery. Nor should Asetek be

20   required, as CoolIT/Corsair proposes below, to obtain their agreement to one or two Rule 30(b)(1)

21   depositions (it is highly unlikely Corsair will agree to any depositions) or to be put to a showing of

22   good cause for same (which is not required by the Federal Rules).

23

24

25   arose within the context of multiple suits proceeding in different jurisdictions, whereas here, the
     third-party defendants merely seek to stay the claims asserted against them in this single
26   suit. Accordingly, the doctrine, at least as it is traditionally delimited, does not apply.”), citing
     Privasys Inc. v. Visa Int’l, No. C 07 03257, 2007 WL 3461761, at *3 (N.D. Cal. Nov. 14, 2007)
27   (“Where, as here, plaintiff has brought suit against both the supplier and its customers in the same
     suit and in the same district, the ‘customer suit’ exception does not apply.”)
28

                                                                            FURTHER JOINT CASE MANAGEMENT STATEMENT
                                                         5                                 CASE NO. 3:19-CV-00410-EMC
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1           In the spirit of reaching a compromise on this disputed issue, Asetek’s proposal for limited

2    depositions of Corsair is as follows:

3               o a Rule 30(b)(1) deposition of Geoff Lyon (who is the inventor of the asserted CoolIT

4                   patents and is now an employee of Corsair)

5               o possibly one or two additional Rule 30(b)(1) depositions on non-technical subject

6                   matter, such as Corsair’s sales channels/documents and financial documents,

7                   following review of Corsair documents and prior to taking any Rule 30(b)(6)

8                   depositions (these are separate from Rule 30(b)(1) notices that will be served for

9                   Corsair’s later-identified Rule 30(b)(6) witnesses, as discussed below).

10              o One Rule 30(b)(6) deposition notice on Corsair, with the understanding that Corsair

11                  will identify the designated Rule 30(b)(6) witness(es) at least two weeks prior to the

12                  depositions and that these witness(es) will provide Rule 30(b)(1) testimony

13                  concurrently with the Rule 30(b)(6) deposition (pursuant to the Rule 30(b)(1)

14                  notice(s) that will be served after the witness(es) are identified).

15          CoolIT and Corsair’s position: CoolIT and Corsair believe that the facts of this case fall

16   squarely within the customer suit exception, justifying a stay of the claims against Corsair. As Judge

17   Beeler expressly found in Xiaohua Huang v. Open-Silicon when she granted the manufacturer’s

18   motion to intervene and stay the case against its customer, “the parties … may suffer hardship or

19   inequity in the absence of a stay from duplicative litigation with issues that largely overlap across

20   [manufacturer and customer]” and “the orderly course of justice is served best by litigating Mr.

21   Huang’s patent claims first against the upstream manufacturer … before the claims against the

22   downstream customer.” Xiaohua Huang v. Open-Silicon, Case no. 18-cv-00707, 2018 WL 5099275,

23   at *5 (N.D. Cal. Aug. 27, 2018) (J. Beeler); see also id. (citing In re Nintendo of America, Inc., 756

24   F.3d 1363, 1365 (Fed. Cir. 2014) as “disapproving of imposing the burdens of trial on the customer,

25   for it is the manufacturer who is generally the true defendant in the dispute.” (quotations omitted).)

26   Asetek’s reliance on Mycone in its footnote above is unavailing. Whereas “[p]rior to Nintendo, the

27   customer-suit rule was limited to cases where a plaintiff brought suit against a manufacturer and its

28   customers in different actions that were brought in different districts[,] … Nintendo, extended the

                                                                            FURTHER JOINT CASE MANAGEMENT STATEMENT
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1    customer-suit rule and its principles to cases where patent infringement is alleged against an

2    infringer and its customers.” Tissue Anchor Innovations, LLC v. Fountain Valley Regional Hospital,

3    Case No. SACV 19-00791 JVS (ADSx), 2019 WL 8219779, at *3 (C.D. Cal. Nov. 25, 1019)

4    (internal citations omitted); accord WP Banquet, Inc. v. Target Corp., LA CV16-02082 JAK (JPRx),

5    2016 WL 9450448, at *5 (C.D. Cal. Dec. 15, 2016); Sillage LLC v. Kenrose Perfumes Inc., No.

6    8:14-cv-02043-CAS(RNBx), 2015 WL 3649605, at *6 (C.D. Cal. June 9, 2015).

7           Nevertheless, to avoid burdening the Court with additional motion practice, CoolIT and

8    Corsair have proposed a compromise that would allow Asetek to take written discovery of Corsair as

9    noted above, a Rule 30(b)(1) deposition of Geoff Lyon (who is the inventor of the asserted CoolIT

10   patents and is now an employee of Corsair), the Rule 30(b)(6) deposition of Corsair, and up to two

11   additional Rule 30(b)(1) depositions upon agreement by the parties or a showing of good cause after

12   the Rule 30(b)(6) deposition. CoolIT and Corsair further agreed not to object to Asetek serving two

13   separate Rule 30(b)(6) deposition notices on Corsair with one coming earlier than the other: one on

14   the topics of sales and financial information, corporate structure, and business relationship with

15   CoolIT, and the second on any remaining topics. Asetek has rejected this offer and has stated that it

16   intends to take the Rule 30(b)(1) deposition of a witness that can speak on “Corsair’s sales and

17   financial documents, corporate structure, and business relationship with CoolIT” and then a

18   subsequent Rule 30(b)(6) deposition. Given the subjects Asetek identifies for the 30(b)(1)

19   deposition, the subsequent 30(b)(6) deposition would more likely than not cover those same

20   subjects. Subjecting Corsair employees to multiple depositions covering the same information is

21   burdensome and harassing. This is especially egregious when Asetek admits that it is CoolIT’s

22   technology that is at issue in this suit, not Corsair’s technology.

23          If, in fact, Asetek has no intention of taking a 30(b)(6) deposition “on subjects covered by its

24   earlier one or two Rule 30(b)1(1) witnesses,” then there is no logical reason for Asetek to reject

25   CoolIT’s offer of two 30(b)(6) depositions, where Asetek is permitted to take an earlier deposition

26   covering the topics on which it claims it needs earlier information. Indeed, during meet and confer,

27   Asetek articulated no reason whatsoever for why it needs a separate and early 30(b)(1) witness on

28   the topics of sales and financial information, corporate structure, and business relationship with

                                                                           FURTHER JOINT CASE MANAGEMENT STATEMENT
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1    CoolIT, in addition to a subsequent Rule 30(b)(6) deposition on the very same topics, leading

2    CoolIT and Corsair to believe Asetek’s request to be nothing more than a fishing expedition. Asetek

3    is represented by experienced patent litigation counsel and will not be surprised by anything that

4    may come up in those depositions, so as to necessitate a preparatory and additional non-30(b)(6)

5    deposition. CoolIT and Corsair’s proposal, as outlined below, provides Asetek with an opportunity

6    to get an earlier witness if it chooses in the form of separate 30(b)(6) notices while minimizing the

7    burden on Corsair, whose technology is not even at issue in this patent infringement case. CoolIT

8    and Corsair’s proposal is as follows:

9               o Corsair agrees to the written discovery above;

10              o A Rule 30(b)(1) deposition of Geoff Lyon;

11              o Asetek may serve two Rule 30(b)(6) deposition notices--one notice on the topics of

12                  sales and financial information, corporate structure, and business relationship with

13                  CoolIT and the other notice on all other topics, with the understanding that Asetek is

14                  not interested in noticing topics on technical subject matter because the technology at

15                  issue is CoolIT’s technology; and

16              o Upon agreement by the parties or a showing of good cause, Asetek may serve up to

17                  two additional Rule 30(b)(1) deposition notices after the Rule 30(b)(6) deposition.

18          A proposed order regarding the deposition limits on Corsair is included herewith.

19                                                 Respectfully submitted,

20   Dated: January 21, 2021                       FINNEGAN, HENDERSON, FARABOW,
                                                    GARRETT & DUNNER, LLP
21

22                                                 By: /s/ Robert McCauley
                                                      Robert F. McCauley
23                                                    Attorneys for Plaintiff and Counterdefendant
                                                      ASETEK DANMARK A/S
24
     Dated: January 21, 2021                       COOLEY LLP
25
                                                   By: /s/ Reuben Chen
26                                                    Reuben Chen
                                                      Attorneys for Defendant and Counterclaimant
27                                                    COOLIT SYSTEMS, INC. and Defendants
                                                      CORSAIR GAMING, INC. and CORSAIR
28                                                    MEMORY, INC.

                                                                           FURTHER JOINT CASE MANAGEMENT STATEMENT
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1                                            ATTESTATION

2           Counsel for Asetek Danmark A/S hereby attests by his signature below that concurrence in

3    the filing of this document was obtained from counsel for CoolIT Systems, Inc., Corsair Gaming,

4    Inc., and Corsair Memory, Inc.

5    Dated: January 21, 2021                    FINNEGAN, HENDERSON, FARABOW,
                                                 GARRETT & DUNNER, LLP
6

7                                               By: /s/ Robert McCauley
                                                   Robert F. McCauley
8                                                  Attorneys for Plaintiff and Counterdefendant
                                                   ASETEK DANMARK A/S
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                                                                       FURTHER JOINT CASE MANAGEMENT STATEMENT
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1                                             [PROPOSED] ORDER

2           The Court having reviewed the parties’ FURTHER JOINT CASE MANAGEMENT

3    STATEMENT, and good cause appearing therefore, IT IS HEREBY ORDERED THAT:

4           1. The parties’ stipulated case management schedule is accepted.

5           2. For the dispute regarding limits on deposition of Corsair witnesses, the Court grants

6    (please choose one):

7           ☐ Asetek’s requested limits on deposition of Corsair witnesses: a Rule 30(b)(6) deposition
8    of inventor Geoff Lyon; one or two possible Rule 30(b)(1) depositions of Corsair witnesses (prior to

9    taking Rule 30(b)(6) depositions) on non-technical subject matter, such as Corsair’s sales

10   channels/documents and financial documents, corporate structure, and business relations with

11   CoolIT; and one Rule 30(b)(6) deposition notice (with concurrent Rule 30(b)(1) deposition(s) of the

12   identified Rule 30(b)(6) witness(es)).

13          ☐ CoolIT’s requested limits on deposition of Corsair witnesses: a Rule 30(b)(1) deposition
14   of inventor Geoff Lyon; Rule 30(b)(6) depositions (Asetek may serve two separate notices); and,

15   upon agreement by the parties or a showing of good cause, Asetek may serve up to two additional

16   Rule 30(b)(1) deposition notices after the Rule 30(b)(6) deposition.

17

18   IT IS SO ORDERED.

19
     Dated: _____________________                      ___________________________________
20                                                     Honorable Edward M. Chen
21                                                     United States District Court Judge
                                                       Northern District of California
22

23

24

25

26

27

28
                                                                  [PROPOSED] ORDER RE: FURTHER JOINT CASE MANAGEMENT
                                                       1                                                    STATEMENT
                                                                                           CASE NO. 3:19-CV-00410-EMC
